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         EXHIBIT 24
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                                                                                     Page

     IN   THE UNITED STATES            BANKRUPTCY  COURT
           FOR THE DISTRICT            OF DELAWARE




In    Re                                       Chapter       11


                                               Case No
W.R       GRACE         CO     et    al        01-01139       JKF


                                               Jointly
                        Debtors                Administered




                      Friday May              2009




                        Oral deposition of PETER VAN

      LOCKWOOD          ESQUIRE        taken    pursuant to

notice          was    held at       the   offices      of   CAPLIN

     DRYSDALE          One   Thomas Circle           .N.W     Suite

1100       Washington           DC     20005      commencing

at     943      a.m on the            above     date     before

Lori            Zabielski             Registered

Professional Reporter and                      Notary    Public


in and          for    the   Commonwealth        of


Pennsylvania




                      MAGNA LEGAL SERVICES
                        Seven Penn Center
                       1635 Market Street
                              8th    Floor
          Philadelphia          Pennsylvania          19103
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                                                                                                                                        Pages              10       to     13
                                                                              Page   10                                                                             Page    12


     EXHIBITS         continued


     NO      DESCRIPTION                                  PAGE                                             It          herthy     stid nd
            Exhibit-19        to Exhibit     Bk                83                                   agreed        by and among              counsel for

            Settlement        Agreement                                                             th respective               parttes     that    the

             CONFIDENTIAL                                      144
                                                                                                    filing       sealing        and    certIfication

                                                                                          .6        of the deposthon                  are   waived         and
                              for Declaration
            Complaint
                                                                                                    that   aft
           the Relief..                      175                                                                  objections except as to
            Diagram                               175                                               the    form of the question                     wlI be
                                            Book
10
     10     Exhibit-2         to Exhibit                       196
                                                                                                   rcs    ivd until thetimeffrial
     11     Exhibit-4         to Exhibit    Bok                224
                                                                                          10
11   12      Exhibit-     10 tØ Exhibit         Book           260

12   13     Travelers                      and                                            11
                              Casualty            Surety

           Companys           Notice     of Deposition                                    12        ESQUIIth after having been                              first

13                                Committee         of
           to the    Official                                                             13        duly sworn was examined                           and
           Asbestos      Personal        Injury
                                                                                          14                           as fo1Iows
14         Claimants..                          267
15                                                                                        .5
     14      Debtors       Disclosure..                  280
16   15      Documents          bearing     Bates stamps                                  .6                 EXAMIKiTO
           TRAVAS00000I9                  through        141                              .7
17           CONFIDENTIAL                                      289

18   16      Notice      of Serviceof Discovery                     324
                                                                                          .8               ACC
19                                                                                                  premarked             for identtfication



20
                                                                                               BY ML BRQWNI
21
22
                                                                                                            Good morning Mr                               ocknood
23                                                                                                                       mongMr Brown
24
                                                                                                           You                  apcariug            here today

                                                                              Page   11                                                                              rage   13


                                                                                               as th   Rule                        duee for the
              DEPOSITION                    SUPPORT                   INDEX                    ACC correct
                                                                                                            Correct

                                                                                                            And thatis                with respect to
      Direction          to   Witness        Not       to      Answer                            ntrnlbLei       of 30bX6                            correct
                                                                                                                                       notices
      Page
      NONE
                 Line                    Page          Line
                                                                                                            Avery large               her
                                                                                                            Can you look                at the      one

                                                                                               thats   been       put before            you and marked                   ACC
                                                                                               Rule 30b6-l which                            will    call    ACC-I
10    Request         for Production               of Documents
                                                                                          10   here after
11    Page          Line                 Page          Line
                                                                                          11                Ihaveit
12    NONE
                                                                                          12                 Can you identify                  it
13
                                                                                          13                It    is   an Amended            Notice of
14
                                                                                          14   Deposition         of Asbestos           P1 Committee
15    Stipulations
                                                                                          15   Pursuant to Rule            30b6 served by four
16    Page          Line                 Page            Line
                                                                                          16   insurance         companies            One Beacon             Seaton
17    12        02
18                                                                                        17   Geico and Columbia And                          it   contains        an
                                                                                          18   attachment with definitions                     and topics
19
20                                                                                        19   which      are the subject             matter    of
      Areas Marked                     Confidential
ai                  Line                                 Line
                                                                                          20   testimony
      Page                               Page
22                                                                                        21                 Okay And can
      152        01       through          168              03                                                                               you look         at

      292        01                        311              14                            22   the document              that         put before you thats
                          through
                                                                                          23   marked       ACC-2
                                                                                          24                 Ihaveit
                   Case 01-01139-AMC                                         Doc 22814-24             Filed 08/14/09                 Page 4 of 13



                                                                                                                                      Pages           14     to     17
                                                                                Page      14                                                                 Page    16

                    And identify                that       document
      please
                    That document                   is    the

      Objections          of the Official                Commiltee of
      Asbestos       Personal         Injury         Claimants             to

      Rule     30h6          Notices           of Deposition

      served by Certain              Plan Objectors

                     Okay           And                   corec
      t       you    ahe              today          pred
            stf about the topi th are i.te                                                      .0

      lit   ACC-1 subject te ie objections that                                                 .1


      aariaACC-2                                                                                .2

                    The anser to                    that    queston                             -3

                                    the                                                         -4
      is    yes subject        to             following           caveats

      To the extent          that the topics                Lfl   this


      ioUce or any ot the other                          notices       are                      16   Personal lnjuiy        Claims entered        into     bTt
17    subjects      that    th ACC has                     person with
18    knowledge           on        am h.re to testify about                                    18
      it     To   the etciit        tht the ACC dcsn                                            19

      have         person with knowledge                          on     certa1n                20

      topics then          Itm here            to    testify       that                         21
      the     ACC dosnt             have       knowledge on                   those

      topics                                                                                    23
                     Oky             And                                                        24

                                                                                   Page    15                                                                 Palo    17


              Ai    to              the   tent            that                                       whefjler    li   d1ger    Iii               Jrom tbe
      oacuis       we                 b6            it   oectu                                       orIg
      owe cthjuens                                                                                              MR FINCH Objection
           kay 4id thu yon                                                                                      flIE        11MSS                the face    of
      ie4CC                          aid            prso with i1JieACC

       C1          iowyoia ung the teni4                                                                                jnwuy
                                                                                                          t1does not ap$ar

                                                                                                                       SOfloNe orgianF
                     taznusingdjstheentity                                                                thi cpjpuibe                the ifffiuitiv

                                                                                                          ay
10
11
      That    Was apj9lnted
      byj.$TTjtht
             BROWN
                                              the    bankruptcyease


                                                    ACC-3.
                                                                                                LO

                                                                                                Li
                                                                                                          utoqts  of4


                                                                                                          bihe-sais btjciecaft
                                                                                                                                                     tbetc

                                                                                                                                                      to


12                 Ac3b6.a inaikedTor                                                           12   J3           B1LW1
13            ieritt6iUonat                   tbistme                                           13                OTy dJi8deii.t
14     EYMf BWN                                                                                 14                                          lut execute
15                                  Mr Lo                   oo4 you iow                              ft Is that    cirtoitbeWJ9useI
 .6    bvbefoeyoi                         ouineui                 hatahoukti                    .6

17            tJj exidhit labels                     on lt Oueh                                 .7
                                                                                                     niean     negotiated     irnptcs    iiuintht     bjngs
 18    Eiblt-12            fiomth             eposItiohif                                            at-oQal    or in some     cocatnL
 19    ME .1nke                     tlither               IsA3                                               aalit1eL                   you
 20                 cody1deudfy th                                                                                          of the ntitIs        th at
 21    doemt tbtbas                                      ed              as     ACC-3           .1
                                                                                                     kepresentatives

                                                                                                     listed here ip     pgotitd         tijis   durnt
 22                  It    appcars        t               Form         8X                            nbehifbftheir            iŁspeetive        ptnijji
 23     fflebyWLGrsceCompanydaie4Apr1                                                                             1t   tl      anytlilngju          iJie
 24                                                                                                  Term Sb            hiuau see tbatS
                 Case 01-01139-AMC                  Doc 22814-24            Filed 08/14/09                          Page 5 of 13



                                                                                                                    Page8                   18     to       21
                                                       Page   18                                                                                   Page       20


      iau                                                                  there    is         sentence           that begins

                MR FINCH Obect to form                                   Provided         however..
                                                                                        Yes
                                                                                        Do you know                    to   what that
                                                                         refers

                                                                                    MR FINCH Objection
                                                                             caution           the   witness not to reveal

                                                                             any        privileged         communications                        If

                                                                                                             the question
                                                                             you can answer
-o                                                                 10        without           divulging privileged
11                                                                 11        information               you can do so
                                                                   12               MS HARDING                              And        am going
-3                                                                 -3        to object          also      as to privilege              as

14                                                                 L4        to the       relevancy          of negotiations
15                                                                 L5        and          believe         that    --   well       --


16                                                                 L6        okay
Li                                                                 17               THE WITNESS                               am trying           to

.8                                                                 18        remember what                   this       phrase referred




      rethe
.9                                                                 19        to    at    the    time this Term Sheet                        was
                 ayLoqaIe                   first                            entered           into       As best            can

                                                       to          ai        recall        at the         time of the Term

      ce1n oephpg terms and                                                  Sheet         the
                                                                                                     concept       that      was
      codjns                                                                 reflected          by this language                   was
            cDypu see that                                                   that       what     was going              to   be

                                                       Page   19                                                                                       Page   23

                                                                             transferred             to    the    Trust was

                 We       tkerother        pijii$pa                          coverage            for asbestos               personal
      tmaonthtlons thai rere left off                                        injury        claims          and     to the extent

                                                                             that       there    was coverage that
                                   there    wera                             didnt        --    thatsomehow   or another

      tbtanegotate4 agreLp                                                   didnt cover               asbestos             personal
           tts connit ht Tein                                                injury        claims          like for example
      Shekbjt a4tiv                                                          workers            compensation                  insurance
      agierne                      mlia                                      that       wouldnt be transferred                         to
10    baxIcruptq     ce     iwMng acomp1kated                      10        the        Trust
 .1                                                                 Li                  But since this Term                    Sheet

      ibiieire                    stAwgj                            L2       was superseded                      by the       Plan
13    cveo4y elsethiit asrofvcd                 ip this                      ultimately                   am not sure exactly
 .4   thaibis    cmSh          twpuJd only piiport                           what         the significance                  of this
 .5
      toio.ptcotdjnost                       wjt                    L5       particular              term at this time is
16    iconsdcr toie 1le                                            1.6   BY MR BROWN
 .7   1unpprIantteTm       an other terms syoulcL                  17                     Okay Well putting aside
      remain toie negote4aspartofte                                 18   workers  compensation coverage is there
 -9   dafiig 9f ci         UdelinitivcP1ajior                      19    any other coverage that you are aware of

                dfineient                  agricmeat    or         F0    that Grace has under the policies that
      wMerer dounnt            woud be required        to                are being transferred                         to   the Asbestos               P1

      fleshout     thfetafls                                             Trust
               Okay Can you turn to page                                                MR FINCH Objection to the
         and you will see under the Romanette                                 form
                     Case 01-01139-AMC                                         Doc 22814-24                     Filed 08/14/09                      Page 6 of 13



                                                                                                                                                    Pages             22         to     25
                                                                                   Page       22                                                                                 Page   24


                    THE WITNESS                          The answer               to                                       Trying to answer               question

             that   is    certainly              yes                                                         from memory thats               as   broad       and    all


                         mean         for example               Grace                                        encompassing           as that         think     frankly       is



             has insurance                 beginning           in --                                         virtually     impossible and              dont         think

             dont know                --   1986       or so that                                   .5        can do   it   an      better    than      Oust    lid

             contains           asbestos          exclusions

             running           up through today and                        none
             of that insurance                    is being


             transferred             to the       Trust because

.0                doesnt provide
             it
                                                  any coverage                                     tb



             for asbestos                 personal       injury                                    Ill

             claims                                                                                12

      BY MR BROWN                                                                                  j13
L4                       What         if   we Limited it to
L5    asbestos insurance                         rights         In other                            15

16    words         the policies                      the asbestos                                 16
17    insurance            rights          are being           transferred              to          17

18    the Trust           by Grace correct                                                         18
19                       Well you               are using            term

      that   is      term that             is   defmed         in the                              20
      Plan and            as   defmed            in   the   Plan       the

      asbestos           insurance             rights    under       the    terms
      of the Plan and                 the      insurance        Transfer

      Agreement                are being transferred                   to the


                                                                                       Page   23                                                                                 Page    25

      Trust

                         Okay And does that include
      all    the coverages                     under the policies that
      are covered               by that term
                           have           no    idea because
      asbestos           insurance             rights    are not

      asbestos           insurance             policies        and         have

      not undertaken                  to       examine        each    and
                                                                              every
      policy that           does or might provide
10                        for asbestos                personal injury                                   .0
      coverage
Li    claims        to    determine whether                     or   not there                          .1


 .2   is    some coverage                  under        that   policy        that                       L2

 .3   doesnt and               that       might not be                                                  13
 .4   transferred                                                                                       14

                     As          general          proposition              my
 .6   recollection              is   that the         Plan is pretty                                    16

      specific       about           whats        being        transferred                              .7

 L8   and     whats not                                                                                 .8

19                   There           is    an Exhibit-5              for                                .9

       example that                  lists     various        categories          of                          BY MR BROWN
       policies          and    settlement             agreements            and                                             All    right      Mr Lockwood
       things       of that nature                    There    is    the                                      can           take       look at Exhibit
                                                                                                                    you
       Insurance Transfer                       Agreement             there       are                                      MR BROWN                   And we vilI have
       schedules of insurance                          rights                                                       that    marked      as    ACC-4
                  Case 01-01139-AMC                                         Doc 22814-24             Filed 08/14/09        Page 7 of 13



                                                                                                                   12      Pages        42      to     45
                                                                                 Page   42                                                      Page   44


                    just dont           remember              for                                   BYMR..BROWN
           sure    whether             they were         involved           in                        Qi
           the    first    Plan or whether                   they got
           involved         between          the   first       Plan                                 obectiid                utejjion
           and     this    Plan          think      they were.
            involved        in    the    first   Plan
      BY MR BROWN


LU

Li
      the same

      parties


            408
                    Okay Would youranswer
                    for the Fresenius



                   MS HARDING
                          think    we should take
                                                             indemnified



                                                     Object under
                                                                                 be

                                                                                             10
                                                                                             1.1


                                                                                             12
                                                                                                      gu          jI4ofw
13          break           would like to               consult                               .3

14          with counsel                                                                      .4


15                 MR BROWN                       Okay                                        .5

16                 THE WITNESS                       Does          that

.7          include       me or do you want to just
.8          talk to   him                                                                     .8

.9                 MS HAJW1NG                            will       tallc   to                .9

            Nate

                   There was
            1015 a.m              to   1017
                                             break

                                                  a.m
                                                         from                                              Th3c
                                                                                                           1JWJ             Okar    Th2ith
                   MR FINCH Can we read back                                                           thbatWe vit
            the    pending         question                                                                  beeehei6           is1thii



                                                                                 Page   43                                                      Page    45


                   The      reporter         read from the                                                              ieJlij
            record as requested

                   MR FINCH You can answer                                                                        abationi
            that    question                                                                                                amd
                   THE WITNESS                          In   general

            yes although
            was
      BY MR BROWN
                    less
                                        their    involvement

                                                                                                       dapoæD                   Æcau

                     Okay              What was              the                                                                      ypu
10    involvement            ol Sealed           Air and Fresenins                           10       O1$                  btdbyjh
ii    in   the drafting            of the Plan               documents                                 owq1ti vc
                                                                                                            .4t            .r
                                                                                                                              an
 .2                MR FINCH Objection                                                                  qpji_ty to czbck and
 .3         instruct the           witness not to                                              .3
                                                                                                             uj1edrajjiga
 .4         answer                                                                             .4                     o4iatqx
 .5                MS HARDING Objection                                                        .5

                   MR JACOB COHN Basis                                                         .6

 L7         please                                                                            17       .wtaths     rMltd    vious
 L8                MR FINCH Basis                            is   Judge                       18              sypuwWd bavjhat
 L9                                              that    Plan                                 19
            Fitzgeralds            ruling

            negotiations               and   the draft            Plan                        20           iRROWx4              somhghe
 II         Agreement              are    not relevant              to the                    .fl


            confirmability               of the Plan                                                       I1NCH Or some              luglier

                   MS HARDING                           Same
            objection                                                                         24            R.BRbWF                ºnotzgli
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                                                                                                                13       Pages              46       to      49
                                                                 Page   46                                                                           Page    48



                                                                                          knowledge           whether    they were or
                                                                                          were not

                                                                                   BY MR BROWN
                                                                                                  To your knowledge                   did any

                                                                                   asbestos insurance                entity    actually

                                                                                   participate
                                                                                               MS HARDING                      Same

                                                                                          Objection
                                                                                               THEW1TNESS                       have        no
                                                                             .0           knowledge           that   they did
                                                                             .1    BY MR BROWN
                                                                             L2          Was any asbestos Insurance
                                                                             L3              consulted
                                                                                   entity                       concerning           any term or
                                                                             L4    provision in the Joint Plan or any Plan
                                                                             15    documents
                                                                                                        HARDING                Same
                                                                             j17          objection
                                                                             18                THE WITNESS                     In    the    same
                                                                             h.9
                                                                                          period
                                                                                                  MR BROWN                   Correct

                                                                                   BY MR BROWN
                                                                                                    From April 2008 to
                                                                                   September           when the initial Plan was
           look    at the   AW obj                                                 filed in    September             of 2008

                                                                 Page   47                                                                            Page    49

          th 30bX6 notice                                                                            have     no     knowledge         that

                  MRSPEIGHTS                  If its
                                                                                   anyone      was
           contained        in   there just refer to                                            Were any asbestos insurance
             want to niake sure          if   we want       to                     entities       consulted          regarding        the
           fllc     rnoon we have             the basis                            assignment           or transfer           of their policies

           of your objection                                                       or proceeds          under their            policies       to    the

                  MR EINcH              YesThebasis                                Asbestos         P1 Trust         in that    time period

           orthe objcctionis            set   fo1i   on                                           MS HARDING Same
                        pph.number31                                                        objection
.0
           AcdesitiEhiit4to                            this                  ao                   THE WiTNESS                       have    no
11         dcpofti                                                           iii            knowledge         that    they    were     or   were
.2           MR SPEIGHTS                      Thank you                      j12            not
            Mr Finch                                                          -3   BY MR BROWN
     BY MR BROWN                                                              .4                    Did any consent
                    Okay         Mr Lockwood              in the              -5                      have     no knowledge

     period       between        the   Term    Sheet    and      the                              MS HARDING                    Same

     filing of the      initial    Plan in September                                        objection
     was any asbestos insurance                  entity     invited          118                  ThE WITNESS                   --   that
                                                                                                                                            anyone
.9   to   participate       in   the negotiation          of the                            did     in fact    consent
                                                                             j19
     Plan documents              or the drafting        of the               RU     BY MR BROWN
     Plan documents                                                                                 Okay Now                  want     to     focus

                  MS HARDiNG                  Same                           122    your attention             now on        the period            after

            objection                                                        23     the   initial     Plan was         filed

                  THE WITNESS                  have    no                    124                  In that period after the
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                                                                                                                                   25   Pages                94           to     97
                                                                                    Page        94                                                                        Pzqe   96


      addition        or   on     an ad hoc basis it was                                                   provided
.2    done          But meither              event          dont                                                  Yes
      recallthat
                 process ever having been                                                                               My questzon     with respect              to

      contested by anybody and therefore been                                                              this   language      Is bow does          settled

      the subject          of        judicial       opinion            that    it                          asbestos insurance        company         on Exbbt-5
      was or.wasnt               okay                                                                      ascertain the scope       of the protection

                       Lets took back                      at    the                                       Ihatts   being affOrded      It   byth          as    eSio
      definition            and            want     to     focus your                                         channelling        injunction
      attention           on the language                   that appears                                              MS HARDING              Objection              to

LO    after     the italicized phrase                           provided                             l0           form
Li    however                                                                                        .1               MR FINCH Same ohection
L2                   MR FINCH This                              is                                   .2

L3            definition             200                                                             .3

L4                   MR BROWN                         Yes                                            .4

15                   THE WITNESS                           After the                                 .5

               italicized            provided            however                                     .6                                                          ed

               yes                                                                                   .7

.8    BY MR BROWN                                                                                    L8

.9                     That language                                                                 L9

                       Yes
                       There is                   reference           there                          II

      to    the      Asbestos               Insurance                Settlement

      Agreement              is      approved            by the Court..
                      Do you           see    that                                                   24

                                                                                         Page   95                                                                        Page    97


                       Yes
                       When            is it      anticipated that
       such     approval              will    be sought

                Well                  it    sort of   depends            on
       which Asbestos                  Insurance Settlement

       Agreement you are talking about
                          Pre-petition

                       My anticipation                     is   that    the

       confirmation process                        itself since           those

 .0
       agreements            are already             listed on                                       10
 .1
       Exhibit-5           would constitute                     the    approval                      11

 .2    process              dont know               that    we                                       12

       contemplate              at   the     moment                  separate
 L4    procedure for submitting                          those                                        .4
                                                                       agreements

                                                                                                                                                     mey
                                                                                                                  aie
 L5    for    approval                                                                                                    not   brought        by
 L6                   And if nobody --I mean                              if                                                        somewhere          and       then
17     somebody objected                           guess you might wind                              17           say in my opinion          these    fall      on
 L8    up    with some kind                  of separate              proceeding                     18           the goo4sidc      of the   line    and

 L9    But     at   the    moment at least my view                                  it               19           thfaionthe bad             side    of the

       would be            rolled          into the      confirmation                                20

       process                                                                                       21     BY MR BROWN
                           Okay      me     Let          focus your                                                      Okay      There are          number               of

       attention           now on the further provided                                                      different    asbestos-protected           parties
       the language                  that     appears            after     further                          under    this    Han
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                                                                                                                            30      Pages                     114        to     117
                                                                                  Page    .114                                                                           Page    116


      agreements             under     the       TDP will satisfy                                         liens or      encumbrances                or   whatever

      the obligations              of the Debtors to those                                                       The exception           is
                                                                                                                                              put        in


      insurers such            that they             will   have       to                                 frankly      because      in   other           cases

      perform         under     those
                                            agreements                                                    think      Federal-Mogul              some           insurers

                  The        asbestos                the insurers                                         --   or    maybe   it   was Kaiser              --


      holding     such        agreements               have       indicated                               dont       know    --   some        insurers          took

      that   they disagree            with that legal                                                     the position       that    this      kind       of

                                                       There                  be                                       might be read                 override
      principle or proposition                                      will                                  clause                               to


      in Phase          of the confirmation                                                               the asbestos          insurance           coverage
.0    proceedings evidence                      taken        as to      the                      LO       defense       carve-out             And so for
      extent     to   which        the     substitution             for the                      .1       avoidance         of doubt we              threw          in


      Trust and         the TDP                             for   Grace           is             .2       the       exception
                                          process
.3    sufficiently       materially              different         and                           L3   BY MR BROWN
.4    adverse         to what          will call            the                                                      Oy ou               are    filiar are
      reimbursement                insurers          that    it   is not                         L5   you not.yvithva.Ous    elam that have
16    legally    permissible               for the court               to    say                 L6   been asserted or threatened by Scoit
      that   under      bankrupty                preemption                                      17   Kaneb         BNSF and Libby with respect to
      principles         those       insurers          have       to                             18   asbestos msurance      policies arent you
      perform         under        those        agreements
                                                                                                 19                  Ys
                      Thats        clearly       going to be                                     20                  Are.wbatºver             claims
      confirmation issue and                          we have          conceded                  II   have     if   any             of th

      under      other       circumstances that that                         is                       insurance       asbtos pohcie   are they

      something          that      we dont            contend          the
                                                                                                      being    extinguished         by virtue                 of this

      Insureds         neutrality          provision              applies                             sØntnØe

                                                                                   Page    115                                                                           Page     117

      to                                                                                                            MS HARDING Object to
                        Can          turn you           now        to                                        form
      Section         7.22     subsection                         Romanette
      ii
                         see it

                        The     last sentence                 of that

       section
                  says Asbestos Insurance Rights
       shall    be sovested free and clear of all

       Encumbrances                   liens security interests
10     and other Claims                    or causes              of action                      10
.11
       except         that   all    Asbestos            Insurance                                11
12     Coverage          Defenses               is   preserved
1.3                   What         does that           mean                                      13

 .4                   MS HARDING                            Object to                            L4

 .5            form                                                                              15

 .6                   THE WITNESS                           Well        it                       16
 .7
               basically        means that              if somebody                              17
 .8            thinks    that       they        have    got         lien                         18
 -9            on asbestos           insurance              rights that                          19
               are purporting              to    be transferred                                  ro
               to the    Trust they better                       show up
               and     complain about                  it   because          the

                              of the Plan              is   to    provide
               purpose
                 transfer          that    is   free    of such                                  24
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                                                                                                        Asbestos        P1 Trust claim against                         the

                                                                                                        Trust     the       Trust could assert Graces

                                                                                                        contribution              rights     as      counterclaim              to

                                                                                                        that     Thats.two                categories.of           things

                                                                                                        thatthis       is   intended          to    include

                                                                                                                        Okay               Lets go to .page64

                                                                                                        7.2.6 Creation                    and Termination   of the

                                                                                                        Asbestos            P1 TAC
                                                                                                                         Correct

.0                                                                                                LU                     It   says          On or before the
.1                                                                                                Li    Confirmation                  Date          the   initial      members of
                                                                                                  L2    the AsbestOs                 P1 TAC shall be                   selected         by
.3    BY MR BROWN                                                                                 L3    the Asbestos                 P1 Committee
.4
                     Okay          if     can           direct          your                      L4                   That has already                     occurred
.5    attention      down        to 7.2.4 which                         Is                        15    correct
.6    entitled Assignment and Enforcement of                                                      .6                     Correct             They         are

.7    Asbestos  P1 Trust Causes of Action                                                         .7    identified          in the        Asbestos         PT    Trust

                     Yes                                                                          .8    Agreement
L9                     must confess                           am         bit                      19                        Okay How many actual
      baffled by this          one so need                             some help                  20    committee members are there on the
      with    it                                                                                  II     Asbestos           Pt Committee
                    How     do Asbestos                   P1 Trust                                                            dont remember                     But     we
      causes       of action        differ         from asbestos                                         have    the    Disclosure                Statement here
      insurance        rights                                                                            could pretty             quickly find out by just

                                                                                    Page    119                                                                                     Page      121


                     Well          have       to    go back               and                            looking        at it     where       they        are identified

      look    at   the defmitions             to    answer               that                                               Okay
      question                                                                                                              Its    certainly         more than the
                    Well       think          asbestos             P1                                    four    that    are       going      to    be on the          TAC
      Trust causes of action                   does include                                                                 Okay            is it    fair to
                                                                                                                                                                  say
      asbestos       insurance          rights                                                           that the actual                  committee             members             who are
                     What        else     does           it    include                                   asbestos claimants                       act     through         their      tort

                     Well      if   you look                  at   the                                   counsel In connection                          with their

      definition       itincludes             defenses                 such                              obligations              as committee                  members
LU    that    for example if                  claimant                 says                       10                        As        general        proposition
11    have         valid   claim against                 Grace           thats                    11     thats    true          In           given committee                  on
                                                                                                                                      any
12    channelled to the Trust                      and                                            12                                                                member
                                                              the      Trust                             any     given issue an individual
13    disagrees       with it the Trust                       retains        all                   -3    might choose                to    show up and              act   on their
      the    defenses      to that       claim that Grace                                          -4    own behalf                and     there     have       been      some
 .5   would have           had      Thats           clause                   under                       examples            in the past            where       that    has
 .6   definition       47                                                                          L6    occurred
 .7                                                                                               17
                      Okay                                                                                              But          as     general

                      Clause            is     for example                                        18     proposition               the     committee            members            are

19     contribution        tights        et    cetera              So        for                  19     blue-collar              folks     of limited          legal

       example if the Trust                   has -- if Grace                      has            20     knowledge                and      they delegate            to their

       contribution        rights       that       it   has not                                                             injury        lawyers         their sort      of
                                                                                                         personal

       asserted      and    that    which           are        still     valid                            activities        acting         for them as           an agent          on

       against        codefendant              in         tort         system                            these     committees

       and   the    codefendant                                in indirect                                                                  You
                                          brings                                                                            Okay                     are counsel              to
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                                                                   Page.1301                                                                               Pi.je      132


         form                                                                                          ihæiiejeolks

                 THE WITNESS                                                                           didnt think               ss
          Hypothetically           probably           yes     It                                            led.burcrs
          would be more difficult                     but                              by definition         are Insurers             that   ha
          hypothetically          yes You could                                        indemnity      ngbts agatnst              Ciace

          have    --   we have        had    some         plans                                      They haveilso                    paid    ii   lot    or
          that   had    coverage       in     place

          agreements          with insurers for

          example        that    we felt satisfied
10        524g          But you       have      to    get the
                                                                                 10
Li        insurers       agreement           to have                             ii
12        coverage       in   place    agrccmeni                                 12
      BY MR BROWN                                                                13
.4                Okay          Lets go now to                                   14
.5    condition                  am sorry             Condition
                                                                                 16
L7                Yes                                                            17
LB                Now for purposes                    of my                      18
L9    question          want you        to    assume that          when
20     use the term settled                  asbestos

21    insurance        companies                want you to
22    assume     that    those    that       are pre-petition                    22                 SO the deal ischaine1any
23                Okay                                                           23    such     claim hat

                                                                                        biim .iithT               mtgn giye             risc 10 the

                  And my qution                      is                          24

                                                                    Page   131                                                                                 Ege     133


                                                                                       andinehazige                 for.thtpttfwhav
                                                                                        Grace      is paying       you is to ge rid of
                                                                                 .3     asbestos     Pt claims which                  include       uidiicct

                                                                                        asbestos     P1 claims for indemnity                        or
                                                                                        dir        sbcsto         PI.claljns          for thdeiiinity

                                                                                                      Okay
                                                                                                      And        thats    the basis

                                                                                                        think you said                  at   the very

                                                                                        beginning       of either          the       last    question           or
 .0                                                                               LO    the one      before        that    Grace was
 .1                                                                               Li                               million
                                                                                        contributing
 .2                                                                               L2                  Billion

 .3                                                                               L3                  rfv what                       thought
 -4                                                                               L4
                                                                                        Okay          just       wanted         to    make      sure            had
 .5                                                                               L5    the   number         correct
                                                                                  .6                    mean            thats    our view           of

17                                                                                -7    the   approximate              amount         of what       they       were
 L8                                                                              18     contributing         at   the     time we           made    the

 L9                                                                              19     deal       guess would             be        better    way        to

 20                                                                                     put   it    There     are other         people that
 21                                                                              21     might value         it    differently

 22                                           putting                                                Some of things                  that    were
 23                                                                              23     worth more          at    the    time the deal was made
 24                                                                                     are   worth    less       today but hopefully                    will
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                                                     ____
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                      Well         the   answer            to that       is                            --
                                                                                                                  isnt bound           by the     settlement    agreement
        first   normally the punitive                      or potential                                          -is         matter     again     of federal    or   state

        mdirect claimant              as           defendant in the                                               aplicable                                    law
                                                                                                                                      non-bankruptcy
        state court     action would have                         the right                                 .-        Q.. But as you interpret                        the    TDP




                                                                                                                       1--
        to    get discovery from the plaintiff                             And                   5...             then there is not an outright
        that    discovery in many                   jurisdictions             if                -6                                       front                 in
                                                                                                                  prohibition                        Payne           discovery
        not most would include                                            of the
                                                         discovery                                          -H    against the.Trust
        plaintiff    as to   whether               that    plaintiff                            -8                                  No
        had     filed claims        with any Trust                                              .9.                                 Okay
LO-     including the pmspective                          Grace         Trust                   LO                                 MS.COBB               Wellthose         are
Li                  If the                court for some                                        11
                              state
                                                                                                                             my questions          and     reserve     the

L2-.Z   reason or another                said       that    that                                12--                                    ask follow-up questions
                                                                                                                             right to
L3      discovery                     the plaintiff-would-                    not
                        against                                                                                              depending       upon the progression of
L4      be permitted               seems unlikely                  that                                                      the
                             it
                                                                                                                                   questioning       by the insurers
        discovery       of the same information from                                                                         But      will
                                                                                                                                             pass the witness         to

 .6     Trust would be permitted because                                  the                   L6                           Mr.Cobn
 .7     hypothesis           by hypothesis                   the state                          17                                 MR DANIEL COHN Thank you
 .8     law doesnt regard                it    as    relevant            So                     18                                 MS COBB Andthankyou for
 .9     under     normal circumstances                           its    hard to                 1.9                                                  Dan
                                                                                                                             your courtesy
        imagine      why an indirect                     claimant        would                                                     MR DANIEL COHN You are
        ever need                             from        aTrust
                        discovery                                                                                            very welcome
                    That     stated           there       are

        provisions       in Section                6.5    that    allow                         a3                                  EXAMINATION
        indirect    claimants            oranybody                 else to try


                                                                                   Page367                                                                                       Page    369

        and get       subpoena.from                        court either                                           BY MR DANIEL                     COHN
        the    Bankruptcy          Court or the Delaware                                                                            All   dgh MrLkwd
        Court or the United States                         Court for the                                          you        herepentative of the
        District    of Delaware                    for such        records

        And whichever              court           that
                                                          subpoena            is


        sought to be issued                   from will decide

        whether      or not the          prospective               indirect

        claimant   because you wont be an

        indirect claimant until
                                you lose the suit
        with the plaintiff whether                           that                                .0

 Li     prospective        indirect           claimant           will or                         .1

        will not     be given access                     to that                                 .2

 L3     information by the Trust                           But the        first                  .3

 14     line of attack        is                     it   from the                               .4
                                    getting

 L5     plaintiff                                                                                .5

 L6                  And          might add other                      than                      .6
                                                                                                                                                                                        by
17      the recitation        that       the       submission and                                .7

  .8     the   proof of claim is part                     of settlement                         18                                                             ew
  .9    discussions          which                                 view       like               .9
                                           is      simply

         any defendant and                     plaintiff         might say                                                                                                        coin
        we agree      that    our settlement                     discussions
                                                                                                                                                na
         and    our settlement                                     is
                                          agreement
         confidential        whether               or not that makes
         it   non discoverable                to     third party           that
